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 5
 6                       UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF CALIFORNIA
 8
 9   THOMAS N. SMITH,                 )       1:05-cv-1187 OWW BAK
                                      )
10                  Plaintiff,        )       DENIAL OF REQUEST FOR
                                      )       CONTINUANCE
11        v.                          )
                                      )
12   DARRIN SIMMONS, individually and )
     dba CLEAN AIR PRODUCTS, and DOES )
13   1 through 50, inclusive,         )
                                      )
14                  Defendants.       )
                                      )
15                                    )
16
17        Defendant, Darrin Simmons and Clean Air Products, Inc.
18   notified the Court on August 14, 2009, of a possible trial
19   conflict.    A request for a continuance was made.
20        As counsel were previously, unequivocally advised, this
21   case, Smith v. Darrin Simmons, is a four year old case which has
22   been on the Court’s CJRA list for over one year.
23        Counsel were told that this case will go to trial as
24   scheduled and that there is no circumstance under which it can be
25   continued.    Defendant’s counsel does not indicate that his Fresno
26   case is an older case.    In fact, it is clear that the case “07"
27   is a 2007 case, a newer case.     No good cause for continuance has
28   been shown.    The motion for continuance is denied.

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 1        The trial date is advanced to August 28, 2009, at 9:30 a.m.
 2   Defense counsel may, if necessary, provide a copy of this Order
 3   to the Superior Court Judge in Fresno County in the case Graham
 4   v. Smith’s Medical, et al., case number 07 CE CG 02215 of this
 5   order and to advise that he has been ordered by the Federal Court
 6   to proceed to trial as scheduled on August 28, 2009.
 7
 8   SO ORDERED
 9   Dated: August 18, 2009
10
11                                       /s/ Oliver W. Wanger
                                           Oliver W. Wanger
12                                    United States District Judge
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